                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 In Re:
                                               )

 CHARLES ANDREW GUNTER, JR.                    )
                                                     Case No: 13-00877

 Debtor.                                       )



                             ORDER CONFIRMING PLAN



 The Plan under Chapter 11 of the Bankruptcy Code filed by Charles Andrew Gunter, Jr.

 filed on May 28, 2014, having been transmitted to creditors; and



 It having been determined after hearing and notice the requirements for confirmation set

 forth in 11 U.S.C. Section 1129 (a) have been satisfied;



 It is ordered that the Plan filed by Charles Andrew Gunter, Jr. on May 28, 2014 is

 confirmed. The Plan was modified and by consent of the creditors appearing at the

 hearing is modified as follows:




 Charles Andrew Gunter, Jr.’s Plan complies with the applicable provisions of chapter 11

 of the United States Bankruptcy Code.



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 Charles Andrew Gunter, Jr.’s Plan has been proposed in good faith and not by any means

 forbidden by law.



 All payments made or promised for services or for costs and expenses in, or in connection

 with Charles Andrew Gunter, Jr.’s Chapter 11 proceedings, or in connection with Charles

 Andrew Gunter, Jr.’s Plan, have been fully disclosed to the Court or, will be subject to

 approval of the Court.



 Confirmation of the Plan is not likely to be followed by the need for future financial

 reorganization.



 The Plan does not discriminate unfairly between Charles Andrew Gunter, Jr. and his

 Creditors.



 The Plan is fair and equitable with respect to each class of claims or interests that are

 impaired there under.

                                           ORDER

    1.

         The Plan of Reorganization is CONFIRMED for purposes under the United States

         Bankruptcy Code and for all purposes under the terms of the Plan.

    2.


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        Any judgment at any time obtained, to the extent that such judgment is

        determination of the liability of Charles Andrew Gunter, Jr., with respect to any

        debt provided for in the Plan is VOID.

   3.

        The order operates as an injunction against the commencement or continuation of

        any action, employment of process or any act, to collect, recover or offset any debt

        provided for in the Plan as a liability of Charles Andrew Gunter, Jr. or from

        property of Charles Andrew Gunter, Jr..

   4.

        The provisions of the Plan bind Charles Andrew Gunter, Jr., all Creditors, and

        parties in interest, whether or not such claims, interests, or rights are impaired

        under the Plan and whether or not any of the foregoing have accepted or rejected

        the Plan.

   5.

        All persons having claims against Charles Andrew Gunter, Jr. as a result of the

        rejection of an executory contract or unexpired lease shall have until 5:00 p.m. on

        the fourteenth (14th) day following this order becoming final and non-applicable to

        file proof of claim relating to the same. Any such claim not so filed shall be

        barred.

   6.

        The Debtor shall file with the Court an initial post confirmation report within 60


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        days from the date of this order, and quarterly thereafter until further order of the

        Court. The initial report shall reflect any progress made in consummating the plan

        during the period covered by the report. The reports shall include (1) a statement

        of distribution by class, name of creditor, date of distribution and amount paid; (2)

        a statement of transfer of property; and (3) a statement of affirmation that the

        provisions of the confirmed plan are being substantially complied with. Debtor

        shall file quarterly reports thereafter until further order of the Court. The initial

        report shall reflect any progress made in consummating the plan during the period

        by the report. The reports shall include: (1) a statement of distribution by class,

        name of creditor, date of distribution and amount paid; (2) a statement of transfer

        of property; and (3) a statement of affirmation that the provisions of the confirmed

        plan are being substantially complied with.

   7.

        The Court retains jurisdiction of Charles Andrew Gunter, Jr.’s Chapter 11 case and

        proceedings therein including, without limitation, jurisdiction over all disputes in

        respect to the following matters:

        a.

             To consider amendments and modifications of this Plan;

        b.

             To hear and determine objections to claims;

        c.


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               To hear and determine causes of action by or against Debtor arising prior to

               the commencement of or during the pendency of these proceedings.

        d.

               To hear and determine any dispute or controversy arising out of

               interpretation or enforcement of this Plan;

        e.

               To hear and determine applications for allowance of compensation and

               reimbursement of expenses;

        f.

               To hear and determine any and all pending applications, adversary

               proceedings and litigation matters, or

        g.

               To grant extensions of any deadlines set forth herein.

   1.                                                                                  The

        administrative bar date shall not apply to Debtor’s post-petition tax obligations.

        Paragraph 8 of the Plan does not bar assessment of any trust fund recovery penalty,

        if any, recoverable against any responsible party of the Debtor.

   2.

        Payments under the Plan shall commence 30 days after Effective date of the Plan

        and will be due on the 1st day of each month thereafter until paid in full. Secured

        claimants as provided in the Plan shall retain their secured status until paid in full


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        pursuant to the terms of the Plan. Ally Financial shall be paid according to the

        terms set out in the Courts Adequate Protection Order.

   3.                                                                                   (a).

                                                                                        If the

        Debtor fails to make payment of any tax to the Internal revenue Service within ten

        (10) days of the due date of such deposit or payment, or if the Debtor or successor

        in interest fails to file any required federal tax return by the due date of such

        return, then the United States may declare that the Debtor is in default of the Plan.

        Failure to declare default does not constitute a waiver by the United States of the

        right to declare that the Debtor is in default.

        (b).

        If the United States declares the Debtor to be in default of the Debtor’s obligation

        to the United States under the plan, then the entire proposed liability, together with

        any unpaid current liabilities, shall be due and payable immediately through the

        administrative collection provisions of Title 26 of the United States Code.

        (c).

        If full payment is not made within fourteen (14) days of such demand, then the

        Internal Revenue Service may collect any unpaid liabilities through the

        administrative collection provisions of Title 26 of the United States Code.

        (d).

        The Debtor shall not receive a discharge greater than allowed by law. The Debtor


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      remains liable for any failure to pay post-petition federal taxes or other violations

      of federal law, to the sum that he would be liable outside of bankruptcy.

      (e).

      The administrative bar date does not apply to Debtor’s post-petition tax liabilities.

      (f).

      The priority claim of the United States will be paid in full in equal monthly

      installments in an amount such that the priority claim is paid in full, with interest

      at a rate of three (3%) compounded daily, within sixty months of the petition date.

      (g).

      Any debt to the United States is non-dischargeable under applicable Federal

      law shall not be discharged.


      Dated:    October 1, 2014




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